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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ x
                                                             :
In re                                                        :     Chapter 11
                                                             :
TERRAFORM LABS PTE. LTD.                                     :     Case No. 24–10070 (BLS)
                                                             :
                            1
                  Debtor.                                    :
                                                             :
------------------------------------------------------------ x

                    DECLARATION OF CHRIS AMANI IN SUPPORT OF THE
                   DEBTOR’S CHAPTER 11 PETITION AND FIRST DAY RELIEF

                    I, Chris Amani, pursuant to section 1746 of title 28 of the United States Code,

hereby declare under penalty of perjury that the following is true to the best of my knowledge,

information, and belief:

                    1.     I am the Head of Company Operations (effectively the Chief Executive

Officer)2 of Terraform Labs Pte. Ltd. (“TFL” or the “Debtor”). I have served in this capacity

since June 8, 2023. Before that, I was the Debtor’s Chief Operating Officer and Chief Financial

Officer. Prior to joining TFL in June 2022, I was Senior Vice President of Product, M&A, &

Partnerships at TimeClockPlus, LLC (“TCP Software”), a global technology company; Chief

Executive Officer of Humanity (prior to its acquisition by TCP Software), an employee schedule

solutions business; a Director of Financial Planning and Analysis at MongoDB Inc., a database

provider; and a Director of Financial Planning and Analysis at Zynga Inc., a developer running



1
    The Debtor’s principal office is located at 1 Wallich Street, #37-01, Guoco Tower, Singapore 078881.
2
    The title of Head of Company Operations is akin to Chief Executive Officer. As further described in the Motion
    of Debtor for Entry of Interim and Final Orders (I) Authorizing Debtor to (A) Pay Prepetition Employee
    Obligations and (B) Maintain Employee Benefit Programs, and (II) Granting Related Relief (the “Employee
    Wages Motion”), most of the Debtor’s workforce (including executives) is employed either through a third-party
    online payroll and human resources platform called Deel, Inc., or by the Debtor’s wholly-owned subsidiary,
    Proximity Panorama, LDA, rather than being employed directly by the Debtor.




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social video game services, among other positions. I hold a Bachelor of Science degree in Business

Administration from the University of Arkansas and a Master of Business Administration degree

from San Jose State University.

                   2.    I am generally knowledgeable and familiar with the Debtor’s day-to-day

operations, business, financial affairs, and books and records, as well as the circumstances leading

to the commencement of this chapter 11 case. I am authorized to submit this declaration

(the “Declaration”) on behalf of the Debtor (i) to assist the Court and other parties in interest in

understanding the circumstances that led to the commencement of this chapter 11 case on January

21, 2024 (the “Petition Date”) and (ii) in support of the Debtor’s voluntary petition for relief under

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). I also refer to the

Declaration of Michael Leto in Support of the Debtor’s First Day Motions, filed concurrently

herewith, which supports the motions filed herewith seeking orders granting various forms of relief

intended to stabilize the Debtor’s business operations, facilitate the efficient administration of this

chapter 11 case, and expedite a swift and smooth reorganization.

                   3.    Except as otherwise indicated, the facts set forth in this Declaration are

based upon my personal knowledge, my review of relevant documents (including the Debtor’s

books and records), my personal experience, knowledge, and information concerning the Debtor’s

operations and financial condition, information provided to me by the Debtor’s employees, or my

discussions with the Debtor’s officers and advisors, including professionals at Weil, Gotshal &

Manges LLP (“Weil”), Alvarez & Marsal North America LLC (“A&M”), WongPartnership LLP

(“Wong”), and Richards, Layton & Finger, P.A. (“RLF,” collectively with Weil, A&M, and

Wong, the “Advisors”). If called upon to testify, I would testify competently to the facts set forth

in this Declaration.



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                   4.    This Declaration has been organized into three (3) sections. The first

provides an overview of the Debtor and its chapter 11 case. The second provides a short primer

on blockchain and cryptocurrency and describes the Debtor’s business, organizational and capital

structure, history, and current operations. The third describes the events leading to the filing of

this chapter 11 case.

                                        I.       OVERVIEW

                   5.    As discussed in further detail below, the Debtor is a software development

company. Its primary business purpose is to develop and support (i) software used to create and

run the current Terra blockchain network (“Terra” or the “Terra Blockchain”), which was started

in May 2022, and (ii) an entire suite of tools, protocols, and applications that operate on the Terra

Blockchain, making transactions on the network easier, faster, and more user-friendly. As

described below, the Terra Blockchain is a unique decentralized digital ledger of peer-to-peer

transactions involving digital assets designed specifically to that network.

                   6.    Importantly, the Debtor does not currently issue or sell digital tokens for

value (i.e., to generate revenue) and it is not a trading platform for digital currencies. The Debtor

does not have–and never had–“customers” in the way many digital asset companies do, like

Coinbase and FTX (exchanges for digital assets) or Celsius Network (a cryptocurrency lending

and borrowing platform). Nor did it make loans of cryptocurrency assets like Genesis. Users of

the Debtor’s products do not have accounts with the Debtor, and the Debtor never held, and does

not hold, any customer funds. In fact, the Debtor does not currently operate to gain profits; all

revenue earned is expected to be reinvested in the business and the Terra blockchain ecosystem.

                   7.    The Debtor was established in 2018, when it began developing an earlier

version of the Terra blockchain network (the “Terra Classic Blockchain”). As described in more



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detail below, on April 24, 2019, TFL minted one billion LUNC tokens (“Luna Classic”), the Terra

Classic Blockchain’s native token. In addition to being the staking and governance token of the

Terra Classic Blockchain, Luna Classic tokens were programmatically tradeable with the

TerraUSD “stablecoin” (known by its ticker “UST”) and other Terra network stablecoins.

Stablecoins are a type of cryptocurrency designed to maintain a stable price over time by “pegging”

their value to the value of a referenced asset, which in the case of UST was one U.S. dollar. UST’s

“peg” to the dollar was maintained by the mint-burn protocol that incentivized holders of UST and

Luna Classic to arbitrage between the two currencies based on their par value.3

                   8.     After the collapse of the market for UST and Luna Classic in late May 2022

(described below in more detail), after consultation with validators, builders, and others in the

Terra community,4 the Debtor relaunched the Terra Blockchain, including an entirely new token

“LUNA” (“Luna”). The Debtor did not sell Luna in the open market. Rather, it “airdropped”

(i.e., transferred as a gift) Luna tokens into the wallets of anyone holding Luna Classic at the time

of Luna Classic’s collapse. Luna is used for securing and governing the Terra Blockchain. It also

has an inherent value on secondary cryptocurrency trading markets. The Debtor no longer mints

or trades stablecoins such as UST; thus, Luna is not tethered to a “sister” cryptocurrency. Luna

currently has a market capitalization of approximately $410 million USD (or approximately $700

million on a fully diluted basis, including non-circulating supply, as of January 29, 2024).

                   9.     Luna’s value on the secondary cryptocurrency markets should be correlated

to its utility on the Terra Blockchain and beyond. “Validators” on the Terra Blockchain record


3
    Specifically, when UST’s market price rose above a dollar, participants could burn a dollar’s worth of Luna
    Classic and receive one UST, which they could sell at the greater than $1 market price of UST. This encouraged
    the creation of more UST, thereby increasing the circulating supply of UST and lowering its price towards a
    dollar. Conversely, if the market price of UST dropped below $1, a participant could burn one UST and receive
    one dollar’s worth of LUNA, thereby lowering the circulating supply of UST and raising its price towards a dollar.
4
    These concepts are explained below.


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and validate blockchain transactions between users, and users of Luna can “stake” their Luna to

the validator, in each case in exchange for receiving a small transaction fee from the user initiating

the transaction in the form of Luna.5 The more users that transact on the Terra Blockchain, the

more fees (in the form of cryptocurrency) that are generated and thus shared with Luna stakers.

The Debtor also participates in staking in its capacity as a user, and thereby the Debtor contributes

to the growth of the Terra Blockchain. The Terra Blockchain can attract more users by offering a

diverse, practical, secure, and innovative set of tools, applications, and functionalities. The

Debtor’s primary business purpose is to continue to maintain and improve the Terra Blockchain,

thereby attracting additional users to participate on, and developers to build useful applications on,

the Terra Blockchain. To that end, the Debtor has introduced and is in the process of creating

several exciting new software applications, described below in more detail.

                   10.    On February 16, 2023, the Securities and Exchange Commission (“SEC”)

filed a complaint in the District Court for the Southern District of New York (the “District Court”)

naming the Debtor and its founder, Kwon Do Hyeong, as defendants, and alleging six (6) claims

for violations of the Securities Act of 1933 (the “Securities Act”) and the Exchange Act of 1934

(the “Exchange Act” and together with the Securities Act, the “Acts”). The SEC claims that prior

to May 2022 the Debtor unlawfully offered and sold unregistered securities and securities-based

swaps, as well as engaged in securities fraud. The action, which seeks a permanent injunction,

disgorgement, and civil money penalties, is currently pending before the Honorable Jed Rakoff

(SEC v. Terraform Labs Pte. Ltd., et al., Case No. 1:23-cv-013460-JSR (S.D.N.Y.)) (the “SEC

Enforcement Action”).




5
    The concept of “validating” and “staking” is described in more detail below.


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                   11.   On December 28, 2023, the District Court granted partial summary

judgment to the SEC, finding that the Debtor and Mr. Kwon offered and sold unregistered

securities by issuing TFL’s native tokens to investors. The District Court also granted partial

summary judgment to the Debtor and Mr. Kwon on the SEC’s securities-based swap counts.

Finally, the District Court denied the parties’ cross-motions for summary judgment with respect

to the securities fraud claims. Although the District Court has not yet addressed remedies or

entered any money judgment, the Debtor faces significant liability as a result of the summary

judgment decision and the pending securities fraud claims to be resolved at trial, which is

scheduled to begin on March 25, 2024.

                   12.   As discussed in more detail below, the Debtor disagrees with the District

Court’s summary judgment decision and believes it should be reversed because the cryptocurrency

tokens at issue are not securities under the Acts, and the SEC Enforcement Action therefore lies

outside the SEC’s jurisdiction. After the District Court enters its final judgment following trial,

the Debtor intends to file an appeal in the U.S. Court Appeals for the Second Circuit.

                   13.   Leading up to and following the summary judgment decision, the Debtor

began considering its options to maximize value for all stakeholders. The Debtor retained Weil as

appellate and restructuring counsel beginning in November 2023, retained Wong as special foreign

counsel in January 2024, and retained A&M (through Weil) as financial advisors in January 2024.

In addition, the Debtor identified John Dubel as an independent director with a strong history of

involvement in companies accused of wide scale misconduct. On January 19, 2024, the Debtor’s

board of directors (the “Board”) unanimously appointed John Dubel as an independent director.

The Debtor’s Advisors and Mr. Dubel are focused on ensuring proper governance, controls, and

oversight at the Company.



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                   14.    Because of the size of the potential money judgment in the SEC

Enforcement Action, the Debtor would likely not be able to satisfy such judgment nor would it be

able to post the supersedeas bond necessary for an appeal. Thus, without the protection of chapter

11, the Debtor would likely have to liquidate after the trial and entry of final judgment, forfeiting

its right to an appeal and causing disastrous consequences for the Debtor’s business, its

approximately 60 employees, its creditors, and the hundreds of thousands of holders of Luna that

depend on the Debtor to maintain the Terra Blockchain—the same token holders the SEC purports

to protect. With the assistance of its Advisors, the Debtor considered whether chapter 11 relief

could provide it with the necessary breathing room to pursue the appeal, to continue its software

development business, and to help sustain and grow the over $400 million in Luna value for all

stakeholders. After extensive discussion with the Advisors over the course of multiple meetings,

on January 21, 2024, the Board concluded that a self-funded chapter 11 filing represented the

optimal path forward for the Debtor and would best position it for long-term success. Shortly

thereafter, on January 21, 2024, the Debtor filed a voluntary petition for chapter 11 relief in this

Court.

                   15.    Significantly, the Debtor’s chapter 11 filing triggered the automatic stay

under the Bankruptcy Code, which will stay the enforcement of the SEC’s money judgment while

the Debtor seeks to obtain vacatur of the District Court decision on appeal. To be clear, the Debtor

is not seeking to use the automatic stay to prevent the SEC from continuing to litigate the SEC

Enforcement Action against the Debtor. The Debtor intends to proceed with the trial scheduled

for March 25, 2024. But the automatic stay will prevent the SEC from taking actions in connection

with enforcing any money judgment.6 Other than any money judgment, the Debtor does not


6
    To that end, immediately after filing its chapter 11 petition on January 21, 2024, the Debtor filed a Notice of
    Suggestion of Bankruptcy in the SEC Enforcement Action, informing the District Court and the SEC of the

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believe the SEC Enforcement Action, including the injunctive relief the SEC seeks in connection

therewith, is likely to have a significant impact on the Debtor’s current business. The Debtor’s

current business does not involve TFL’s creation of new cryptocurrency tokens.

                   16.   A chapter 11 case is, therefore, critical to the Debtor’s ability to operate as

a going concern, preserve value for its creditors and stakeholders (including the Terra community),

provide an orderly process for resolving competing claims against it, and pursue an appeal of the

SEC Enforcement Action. A successful appeal would eliminate the single largest claim against

the Debtor, thereby benefiting the Debtor, its creditors, and the community more broadly. If the

SEC prevails in the appeal, the Debtor can utilize the chapter 11 tools to allocate value among

creditors, including the SEC. By utilizing the chapter 11 process and the tools made available by

the Bankruptcy Code, the Debtor hopes to emerge as a reorganized and stronger enterprise for the

benefit of all of its stakeholders.

                                 II.      THE DEBTOR’S BUSINESS

    A. Cryptocurrency 101

                   17.   To better understand the Debtor’s history, business operations, and events

leading up to this chapter 11 case, it is helpful to provide a brief primer on blockchains and

cryptocurrency.

              a. Blockchains

                   18.   Blockchains are decentralized digital public ledgers run by communities of

individuals and independent organizations that record and enable secure peer-to-peer transactions

without third-party intermediaries. Blockchains enable the existence of digital assets by allowing


    Debtor’s chapter 11 filing and noting that the continuation of the SEC Enforcement Action is subject to an
    exception from the automatic stay, but observing that any activity in connection with the enforcement of any
    money judgment is automatically stayed. Notice of Suggestion of Bankruptcy, SEC Enforcement Action (ECF
    No. 169).


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participants to engage in and confirm transactions without the need for contracts, banks, or other

central certifying authorities, and they enable “trustless” transactions that are based entirely on the

operation of open-source, auditable code and algorithms. When a participant requests a transaction

on the blockchain, members of the community on the peer-to-peer computer network use

algorithms to validate the transaction and the user’s status, and then combine that transaction with

other transactions to create a new block of data. The new block is added to the existing blockchain

in a manner that is public, reviewable, permanent, and unalterable; this completes the transaction.

As each new block refers back to and “connects” with the immediately prior block associated with

it, the addition of each new block adds to the blockchain, similar to a new link being added to a

chain.

                   19.   Blockchains rely on cryptographic techniques and validation and replication

of the ledger among its many members to ensure that individual transactions on any given copy of

the ledger cannot be altered or counterfeited. And because the ledger is public and distributed,

meaning that there are many copies of the entire blockchain, it is readily apparent if a single copy

of the blockchain has been tampered with or is otherwise corrupted. Thus, blockchain technology

is strongly resistant to tampering or counterfeiting.

                   20.   Generally speaking, blockchains operate using a consensus mechanism to

validate the transactions and blocks added to the blockchain. Consensus mechanisms can differ

from blockchain to blockchain. On public blockchains, consensus mechanisms generally take one

of two forms: Proof of Work or Proof of Stake. Proof of Work blockchains use virtual “miners”

to secure and verify transactions by processing complex mathematical problems. In contrast, Proof

of Stake blockchains use a network of “validators” who contribute—or “stake”—their own

cryptocurrency in exchange for a chance to validate new transactions, update the blockchain, and



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earn a reward. Validators forfeit their staked coins if the transactions are not verified promptly or

accurately, and they are rewarded with transaction fees and block rewards in the form of additional

cryptocurrency for their validation services. The Terra Blockchain runs on a Proof of Stake model.

                    21.   Various parties can participate on a blockchain network, including, among

others, users, validators, stakers, and developers. Generally speaking, a user is a participant on the

blockchain that interacts with the network in various ways, including transferring tokens back and

forth, interacting with protocols, and staking.         Users pay a transaction fee in the form of

cryptocurrency when they execute a transaction on the blockchain—a portion of which is

distributed to stakers and a portion of which is taken by validators. Validators are individuals or

businesses that run software to validate transactions, often requiring specialized hardware to do

the computational work of validating transactions. Validators set and charge a commission, paid

out of the staking award in the form of a cryptocurrency, in exchange for performing the validation.

Stakers are a subset of token-holding users that stake their cryptocurrency with validators to secure

the network. In return, stakers receive a portion of the cryptocurrency transaction fees users pay

in connection with the transaction.       Separately, developers build useful software tools and

applications on the blockchain. In simple terms, without developers creating practical applications

for users to interact with, blockchains would have little purpose.

                    22.   No single entity owns or operates a public blockchain; instead, the

infrastructure is collectively maintained by a decentralized public user base, which stores the many

copies of the blockchain and validates new transactions. The blockchain thus does not rely on

governmental authorities, financial institutions, or any other central certifying authority to create,

transmit, or determine the value of digital assets or the transactions conducted. Nor does it rely on

trust or contracts. Rather, the combination of a decentralized and public ledger, open source



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software, strong cryptographic security, and a defined mechanism for validating transactions

ensures by operation of computer code—without traditional contracts or intermediaries—that the

blockchain and all the information recorded on it are valid. Many blockchains, like the Terra

Blockchain, have governance mechanisms that allow participants to propose changes in the

blockchain and its operation, which are then voted on by the community and implemented only if

approved.

                    23.   In short, a blockchain network is the blockchain ledger, along with everyone

contributing to and using that ledger; and a blockchain protocol is the rules that govern the

operation of the blockchain. In addition to supporting the transactions described above, many

blockchains allow for the creation and operation of additional protocols on the network that can

perform different functions, including lending and borrowing cryptocurrency, creating new tokens,

exchanging one cryptocurrency for another, and transferring a cryptocurrency from one blockchain

to another. These protocols can be created by anyone, and they generally operate on a peer-to-

peer basis, without any centralized intermediary. Most of the software code used to operate a

blockchain is open source, which allows anyone to examine the code to understand how it works,

evaluate its functionality and security, and propose changes to the code to improve its operation.

In the case of Terra, most of the code written by the Debtor for the operation of the Terra

Blockchain is open source, and the Terra Blockchain itself was created as an instance of the

Cosmos blockchain architecture (which is itself an open source project).7




7
    Cosmos is a decentralized network of independent, scalable, and interoperable blockchains upon which the Terra
    Blockchain was built. Cosmos allows blockchain developers, such as the Debtor, to break the barriers between
    otherwise siloed blockchains by allowing them to transact with each other (i.e., cross-chain transactions).


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              b. Cryptocurrency

                    24.     Cryptocurrency tokens are a medium of exchange, and the blockchain

technology controls the creation of new tokens and verifies transactions. Every single transaction,

and the ownership of every single token in circulation, is automatically recorded on the

blockchain—that is, recorded on many copies of a public database—which effectively contains a

record of all account balances. Each account on the blockchain is identified solely by its unique

public key, and is secured with its associated private key, which is kept secret, like a password.

The combination of private and public cryptographic keys constitutes a secure digital identity in

the form of a digital signature, providing strong control of ownership.

                    25.     A cryptocurrency wallet is a device or program that stores cryptocurrency

keys and allows holders to access their cryptocurrency tokens and send them to other wallets.

Wallets contain a public key (the wallet address), and a private key is needed to sign, or execute,

cryptocurrency transactions. Anyone who knows the private key can control the tokens associated

with that address. Because transactions on the blockchain are public, tokens can be traced from

wallet to wallet using open-source tools that can search for wallets and transactions.

                    26.     The value of any given cryptocurrency token as a medium of exchange is

determined by supply and demand for it, with prices being determined by mutual agreement, by

barter, or by merchants that accept the digital asset. People also can buy or sell digital assets for

fiat currencies, such as the U.S. dollar, on centralized exchanges, like Binance or Coinbase, and

decentralized markets like Astroport,8 or through private sales.

                    27.     Although the value of most tokens can be volatile, some tokens are

“stablecoins,” a type of cryptocurrency designed to maintain a stable price over time by “pegging”


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    https://astroport.fi/


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their value to the value of a referenced asset, such as the U.S. dollar. For example, a U.S. dollar-

based stablecoin is a token that resides on a blockchain and is designed to trade for one dollar.

“Asset-backed” stablecoins are backed by assets that can include fiat currency, bonds, or

commercial paper. “Algorithmic” stablecoins, by contrast, are designed to maintain their price

peg via algorithms that control the supply of the token, and thus impact the willingness of market

participants to exchange the token for a given amount of fiat currency. Although algorithmic

stablecoins can be traded for fiat currency on centralized and decentralized markets, the algorithms

designed to maintain their peg rely on programmatic mechanisms, like the Terra mint-burn

mechanism (described below), to facilitate conversions between the stablecoin and the associated

balance token(s). Algorithmic stablecoins, by their nature, do not carry a promise that anyone will,

in fact, trade the stablecoin for the amount of fiat currency to which it is pegged.

    B. Company Overview

         1.         Company History

                    28.   The Debtor is an open-source software development company that

specializes in blockchain technology. The Debtor traces its roots back to 2018, when the Debtor’s

co-founder, Mr. Kwon, along with others, began developing the Terra network. The Debtor was

incorporated as a limited exempt private company in the Republic of Singapore on April 23, 2018.

Mr. Kwon and others outlined a novel approach to the price volatility of cryptocurrencies in a

white paper announcing the creation of the Terra Classic Blockchain and the Luna Classic token,

the first crypto asset developed by the Debtor.

                    29.   In April 2019, Mr. Kwon and others published another white paper, entitled

“Terra Money: Stability and Adoption,” which announced the adoption of Terra’s suite of

stablecoins:



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                    Recognizing strong regionalities in money, Terra aims to be a family
                    of cryptocurrencies that are each pegged to the world’s major
                    currencies. Close to genesis, the protocol will issue Terra currencies
                    pegged to USD, EUR, CNY, JPY, GBP, KRW, and the IMF SDR.
                    Over time, more currencies will be added to the list by user voting.
                    TerraSDR will be the flagship currency of this family, given that it
                    exhibits the lowest volatility against any one fiat currency
                    (Kereiakes, 2018). TerraSDR is the currency in which transaction
                    fees, miner rewards and stimulus grants will be denominated.

                    30.    As with other stablecoins, UST’s value was pegged to the U.S. dollar

through the algorithm tying its value to Luna Classic. The algorithm maintained UST’s price

through a mechanism in which UST and Luna Classic would be “minted” (created) or “burned”

(destroyed) in parallel. In other words, the mint-burn mechanism was coded into the Terra Classic

Blockchain itself by using Luna Classic as the variable counterweight to Terra stablecoins: A

person could always use the Terra Classic Blockchain itself to exchange $1 worth of Luna Classic

for $1 worth of UST, and vice versa, creating an arbitrage opportunity if the price of UST dropped

below (or rose above) the value of the peg. Such an exchange would automatically cause the Terra

blockchain either to mint (or burn) UST to increase (or decrease) the supply, and return the market

value of UST to its pegged price. This programmatic process did not involve activity by the

Debtor. Rather, users used the mint-burn mechanism by interacting with the Terra Classic

Blockchain, not by interacting with the Debtor. To obtain U.S. dollars (or any other fiat currency),

however, a holder still would need to sell its Luna Classic (or UST) on a centralized or

decentralized market. The Debtor did not operate any such markets.

                    31.    As noted above, on April 24, 2019, the Debtor launched the Terra Classic

Blockchain and created one billion Luna Classic tokens (what is often referred to as the “genesis

block”). Luna Classic tokens, in addition to being algorithmically tradeable with UST via the

mint-burn mechanism, were the staking and governance token of the Terra Classic Blockchain.



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Luna Classic was therefore created as the counterpart to the Terra stablecoins, to validate

transactions on the Terra Classic Blockchain and to enable voting for governance proposals. The

mint-burn mechanism by which UST and other stablecoins could be created became operational

in September 2020.

                    32.    Following the launch of the Terra Classic Blockchain, users began to

populate the network, develop and use applications on it, and acquire Luna Classic and UST. Over

time, the Debtor also created other protocols and cryptocurrencies.9

                    33.    UST experienced at least two significant “de-pegging” events during its

existence.10 First, in May of 2021, the market price of UST declined below $1, but within a few

days recovered and the peg was restored. Following the May 2021 de-peg, Terra community

concerns about UST stability led to proposals to create a reserve of cryptocurrency tokens that

could be used to protect UST from significant price disruptions. As a result, on January 19, 2022,

the formation of Luna Foundation Guard, Ltd. (“LFG”) (described below) was announced, and

TFL contributed millions of Luna Classic tokens to LFG. Over the course of the following months,

LFG sold such tokens to amass over $3 billion in reserves held in BTC, stablecoins, and a small

number of other digital assets.




9
     In December 2020, the Debtor launched the “Mirror Protocol,” which allowed users to create digital assets
     designed to track or “mirror” the price of real world assets. The Mirror Protocol also enabled users to obtain “MIR
     tokens,” which were “governance tokens” that, among other features, gave their holders voting power over the
     development and structure of the Mirror protocol, including the right to propose changes. For example, users
     were able to propose for community approval new mirrored assets beyond those that were available when the
     Mirror protocol launched. These mirror assets, or “mAssets,” could be traded in peer-to-peer transactions and on
     trading platforms.
     In March 2021, the Debtor announced the launch of the “Anchor Protocol,” a decentralized protocol that accepted
     deposits of UST and allowed users to borrow UST by pledging other digital assets as collateral. The Anchor
     Protocol paid UST as digital “interest” to depositors.
10
     A “de-pegging” event occurs when a stablecoin, whose value is pegged to another currency, decreases or increases
     in value relative to the currency to which it is pegged.


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                    34.        Second, on or about May 6, 2022, sudden and heavy selling of UST by a

small number of market participants caused UST to de-peg from the U.S. dollar and its price to

decline steeply. Over the course of several days, TFL, using some of the LFG reserves and several

hundred million dollars’ worth of its own assets, tried to resist this sell pressure and support the

price of UST in order to try to re-peg it. But the massive tidal wave of selling caused the price of

UST to collapse to nearly zero, and the price of Luna Classic collapsed in parallel.

                    35.        After the collapse of the prices for UST and Luna Classic, the Debtor

retained its remaining assets in its treasury. In late May 2022, TFL created the new Terra

Blockchain, from which Luna was “airdropped” at chain genesis to Luna Classic and UST token

holders on the Terra Classic Blockchain, in accordance with a governance proposal by Do Kwon

on behalf of TFL that was approved by the community.11 In accordance with the approved

governance proposal, a portion of the newly issued Luna was placed in a “community pool”

account on the Terra Blockchain, which is a common bucket of tokens that can be deployed based

on community proposals that have been approved by the requisite number of community token-

holder votes (the “Community Pool”). TFL did not intend to receive, and did not retain, any Luna

tokens in the airdrop, and there was no sale of any of the Luna tokens.12 The Debtor has used its

remaining treasury, including non-Luna assets and the community-granted Luna, to support the

new Terra Blockchain. As of today, the value of outstanding Luna tokens that drive the new Terra

Blockchain is over $400 million.




11
     https://bit.ly/4b9cRJb.
12
     As described below, pursuant to a community-approved proposal, members of the Terra community recently
     independently elected to provide 150 million Luna to the Debtor’s treasury. http://bit.ly/3OIJpQH.


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                    36.    Following the start of the new Terra Blockchain, TFL approached the

community with a proposal to grow the new Terra Blockchain and fund other developers that

contribute to its operation:

                    a. TFL would negotiate and pay for community tools/projects using its non-Luna
                       treasury and conduct due diligence on a proposed project’s potential value-add
                       to the network and ability to execute, relieving a significant burden on the
                       community.

                    b. TFL would provide Foundation (a best-in-class, high-performance
                       infrastructure, indexer13 and relayer application,14 described in more detail
                       below) to all credible builders on the new Terra Blockchain, significantly
                       reducing protocol developer operating expenses and enabling developers to
                       provide a differentiated experience.

                    c. In implementing grants from TFL’s treasury to users, TFL would provide
                       additional Luna as incentives to teams that develop applications and protocols
                       that attract users to the Terra Blockchain. Additional users result in more
                       transactions and engagement within the Terra Blockchain and additional fees.15
                       These incentives will vest based on time and total Luna market cap, avoiding
                       short- to medium-term price fluctuation, encouraging long-term commitments
                       from teams, and giving teams upside exposure.

                    d. TFL would provide collateral (in the form of non-Luna cryptocurrencies from
                       TFL’s treasury like BTC, ETH, stablecoins, and others), matching Luna from
                       the Terra Community Pool to provide liquidity on Terra to attract developers
                       and users to the Terra Blockchain.

                    e. TFL would implement a Fee Share Module16 to match 50% of fees generated
                       by Terra applications with stablecoins such as USDC and USDT until January
                       2025, enabling teams contributing to the Terra Blockchain to earn 75% of the
                       fees they generate on-chain. The Fee Share Module would attract developers to
                       the Terra Blockchain by offering higher fee earning potential.
13
     An indexer helps query and analyze data stored on a blockchain by retrieving information on the blockchain,
     including wallet and transaction information. It may also offer additional features such as indexing smart contract
     events, filtering data based on specific criteria, and enabling complex queries.
14
     Blockchain relayers are third-party services that facilitate the communication and transaction of data between
     different blockchain networks. They do this by acting as intermediaries between the networks, translating data
     between different protocols, and ensuring that transactions are processed correctly
15
     As discussed above, “fees” refer to the small portion of each transaction paid in kind to blockchain validators for
     confirming the transaction. Fees are generated each time a transaction on the blockchain is confirmed by a
     validator.
16
     The Fee Share Module is a blockchain upgrade that redirects fees from stakers to teams developing applications
     on the Terra Blockchain.


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                    f. TFL would continue to support the chain, offering financial and non-financial
                       support to community teams, organizing community events, driving awareness
                       of the community and its projects, and building out new products like
                       Enterprise, Warp, Alliance, Station, Tashkent, Verity, and Quill--all in service
                       of the network’s stakeholders. These are described below in more detail.

                    37.    In response to this proposal and in recognition of TFL’s support of the new

Terra Blockchain, in October 2023, the Terra community approved a grant of 150 million Luna to

be provided to TFL to support the work outlined above, with 100 million Luna transferred to TFL’s

treasury, 25 million Luna earmarked for strategic partnerships and community project incentives,

and 25 million Luna for a liquidity fund to be matched with the Debtor’s non-Luna treasury and

deployed opportunistically. The 125 million Luna in the first two buckets vest over five (5) years,

with the 25 million Luna in the liquidity fund not being subject to vesting. TFL has continued to

build new applications and support the new Terra community, as described below in more detail.

                    38.    As noted, the Debtor holds a significant sum of Luna in the Debtor’s

treasury pursuant to the community grant. Such Luna is not being held as an investment—its

purpose is to be deployed in furtherance of improving the Terra network. If Luna is successful

and its value continues to increase, the Debtor will eventually be able to fund its operations for

years to come with the Luna grant. Thus, it is imperative that the Debtor be permitted to continue

to operate and launch its important applications in development, maximizing value for all of the

Debtor’s stakeholders.

         2.         Operations

                    39.    True to its name—Terraform—the Debtor’s goal is to foster a self-

sustaining digital network with a vibrant and flourishing community of users. Utilizing its globally

distributed workforce of experienced software developers, the Debtor produces and maintains

next-generation blockchain technology beyond just the basic recording of decentralized peer-to-


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peer transactions. The Debtor’s technology facilitates complex decentralized transactions between

independent blockchains (cross-chain transactions), executes smart-contracts (programmable

transactions that automatically execute once certain criteria are met), and empowers decentralized

autonomous organizations (digital management structure with no central authority, governed by

smart contracts). For example, the Debtor offers a unique digital wallet application that allows

users to execute transactions with cryptocurrency tokens on the Terra Blockchain. The Debtor

does not currently earn revenue on its software products, but it may do so in the future as adoption

of some of these tools grows.

              a. Terra Blockchain

                    40.   The Terra Blockchain is a decentralized public blockchain governed by

community members. It includes (i) a decentralized digital public “ledger” that recorded and

enables secure peer-to-peer transactions, (ii) a community of users contributing to and using that

ledger, and (iii) a blockchain protocol (i.e., the rules that govern the operation of the blockchain

network). It also includes numerous decentralized applications and tools created by TFL and other

independent developers.       The Terra Blockchain has a governance mechanism that allows

community stakeholders to propose changes to the network and its operation, which are then voted

on—via token transaction—by the community of users and implemented only if they are approved

by the requisite vote of the community.

              b. Terra Community

                    41.   One of the Debtor’s primary goals is to foster a robust and vibrant

community on the Terra network by developing tools and applications on the Terra Blockchain

that, among other things, drive economic activity to the Terra Blockchain. To accomplish this

goal, the Debtor has continuously improved and maintained the Terra Blockchain, while building

innovative functionality for the Terra community to utilize.

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                    42.       The Terra community currently consists of over half a million stakeholders

(measured by wallets) and 37,000 monthly active users (measured by unique wallets), who

participate in the Terra network in various capacities.17 Members of the Terra community

participate in a number of activities, including, among others, recording and verifying transactions

(validators), staking their tokens to support the validators (stakers), developing tools and

applications for use on the Terra Blockchain (developers), utilizing the various applications the

Debtor has developed, and participating in the decentralized governance of the Terra Blockchain.

Community members can submit, democratically vote on, and implement various proposals,

including, for example, making changes to the Terra Blockchain, deploying funds from the Terra

Community Pool, and entering into agreements with regard to the intellectual property held in the

Terra Community Trust (described below in more detail).

                    43.       The individual users that make up the community have a significant amount

of democratic control over how tokens are spent and in what direction the Terra Blockchain should

further develop. As noted above, following the May 2022 de-peg, in October 2023, the community

approved TFL’s proposal and granted it 150 million Luna.18 Notably, three months prior to the

successful community-approved proposal, the community had rejected consideration of a similar

proposal from the Debtor, which the Debtor withdrew before a community vote was held. This

demonstrates that the Terra community exercises independent judgement. The Debtor had to earn

the confidence of the community to petition successfully for the Luna grant.19


17
     https://bit.ly/3HEBvDI
18
     http://bit.ly/3OIJpQH.
19
     I understand another example, as is discussed in more detail below, relates to the Terra Community Trust (the
     “TCT”), which holds valuable intellectual property related to the Terra brand, including the intellectual property
     rights for Terra, Luna, and UST. TCT executes community-approved proposals related to the intellectual property
     based on the community’s decentralized governance practices. In that way, the Terra community is
     democratically in control of the Terra brand intellectual property. For example, in February 2022, pursuant to a
     community-approved proposal, the TCT entered into a sponsorship agreement with the Washington Nationals

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                    44.   Anyone can create new applications and protocols for the Terra Blockchain,

thus making it more useful. The Debtor is a key member of the community, and has a slate of

innovative, secure, and practical applications (both in development and already launched) that

drive increased use of the Terra Blockchain pursuant to various diverse mechanisms. In addition,

the Debtor engages in marketing to increase adoption of the Terra Blockchain and improve the

Debtor’s reputation. Once new users join the community, the Debtor offers a number of tools that

help retain them and enrich the community experience. As discussed in more detail below, the

Debtor has a promising slate of applications in various stages of development, with certain

applications ready to be launched in the next several months. These applications aim to garner

additional interest in the Terra Blockchain, realizing more users and generating more Luna

transactions. The Debtor believes that, over the long-term, the value of Luna will be tied to the

Debtor’s success in growing the Terra ecosystem.

              c. Development of Applications

                    45.   The Debtor does not currently issue any cryptocurrency assets, nor does the

Debtor sell any cryptocurrency assets (other than selling assets in its treasury to pay its operating

expenses). Rather, the Debtor’s current operations are focused on developing, maintaining, and

marketing the Terra Blockchain. Specifically, the Debtor has developed, and continues to develop,

a robust slate of applications that are designed to be used on the Terra Blockchain and “cross-

chain” (i.e. on other blockchains). The Debtor is not currently monetizing such applications (i.e.,

it does not currently earn revenue through transactions), but it may do so in the future.




    Baseball Club and Washington Nationals Stadium wherein the parties agreed to advertise the Terra brand during
    Nationals games. Similar uses of the Terra intellectual property can expose potential users to the Terra Blockchain
    and incentivize them to participate in the community.


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                    46.   The Debtor prides itself on having the capability to provide users with

cutting-edge applications that are secure and easy to use and offer functionality that is unparalleled

among the Debtor’s competitors in the crypto sector. These applications not only bolster and

rehabilitate the Debtor’s reputation, leading to additional users, but the applications also increase

the usefulness of, and help direct activity to, the Terra Blockchain. The Debtor intends to develop

applications that “abstract away” the blockchains, essentially allowing seamless cross-chain access

and breaking the barriers between siloed blockchains. In doing so, however, the Debtor’s

applications will, in many instances, route cross-chain transactions through the Terra Blockchain

to capture user activity and transaction fees. Accordingly, if the Debtor’s upcoming slate of

applications can become best-in-class, first-in-market applications that create a seamless “cross-

chain” experience for blockchain users, the Terra Blockchain will be a premier blockchain hub

with a significant share of the market.

                    47.   The Debtor’s current slate of applications are in various stages of

development, including, among others:

        Station. The Debtor’s flagship application, Station, is a “cross-chain” wallet (i.e.,
         compatible with third-party blockchains) that allows users to access, in addition to the
         Terra Blockchain, other chains and decentralized applications built within the third-party
         Cosmos blockchain network. Station has unique capabilities that no other competitor
         wallets in the ecosystem offer, including, among others, (1) seam-less multi-hop cross-
         chain transactions, (2) allowing users to view all of their cross-chain holdings on a
         consolidated basis, (3) fee abstraction (allowing users to pay fees in currencies other than
         the ones accepted by the chain on which they are transacting), and (4) allowing users to
         view cross-chain transaction histories and transaction status updates.

         Station is easier and safer to use, with approximately 15,000 daily active users. One
         important feature the Debtor plans to introduce on Station in the near future is smart wallet
         capabilities that will allow users to configure their Station wallet with various settings,
         including multiple private keys, private key recovery, two-factor authentication, and other
         security measures. The Debtor intends for Station to be the “portal” for consumers using
         all of the Terra applications and plans to develop and expand the capabilities of Station
         further to be compatible with additional blockchains. Currently, Station is compatible with
         the full Cosmos ecosystem, but the Debtor intends for it to be compatible with additional
         blockchain ecosystems in the near future. As the Debtor rolls out additional capabilities

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         for Station, as planned, the Terra Blockchain will see more users and more transaction fees.
         Station adoption opens up perhaps the broadest opportunity for potential avenues that
         would drive user activity on the Terra Blockchain.

        Foundation. Foundation is an infrastructure offering that pairs the Debtor’s infrastructure
         and user experience framework with the newly-acquired Pulsar’s data indexing capabilities
         (described below) to create a product that currently has no equivalent in the crypto market.
         Foundation Infrastructure will allow developers to avoid maintaining their own costly
         infrastructure necessary for reading and writing transactions from the
         blockchain. Foundation Data will provide a generalized API layer that will allow teams to
         easily query useful blockchain data via REST API rather than building and maintaining
         complex custom indexing solutions. Currently, the Debtor offers Foundation to users who
         build on the Terra Blockchain for free, thus strengthening the Debtor’s reputation via word-
         of-mouth. Ordinarily, the startup costs for a user to index information and get a product up
         and running can be significant. Foundation offers a less expensive and higher-quality
         alternative. Thus, when the Debtor eventually begins selling Foundation—or even just the
         underlying data index from Pulsar—to generate revenue on a B2B basis, it expects to gain
         an edge against its competitors, which will not have access to the proprietary and
         unmatched Pulsar software. As is the goal for many of the Debtor’s applications, the Debtor
         intends for Foundation, Station, and other Terra applications to work seamlessly together,
         creating an overall synergy on the Terra Blockchain and increasing user retention.

        Enterprise Protocol. Enterprise Protocol is suite of applications developed in the Terra
         network to aid users to conduct business in “Web 3.0”—the emergent evolution of the
         internet built upon blockchain technologies and decentralization. Enterprise could be most
         readily compared to Oracle, an enterprise resource planner, but for Web 3.0. Enterprise
         Protocol includes a number of tools that help users build applications and run their
         businesses with blockchain technology, driving economic activity onto the Terra
         Blockchain. For example, Enterprise DAO allows users to create, organize, and manage
         decentralized autonomous organizations (“DAOs”) on the Terra Blockchain.

         Enterprise Protocol is highly innovative, in that it is the best cross-chain application of its
         kind on the market and “abstracts away” the blockchain, creating a seamless experience
         for users to jump between different blockchains. Where ordinarily, users building tools
         across multiple applications would need to maintain different code for different
         blockchains, Enterprise Protocol allows users to maintain one primary code that will work
         across numerous different chains. Because this primary code sits on the Terra Blockchain,
         it is another avenue that drives up user transactions on the Terra Blockchain. For example,
         users can use Enterprise Protocol to vote on a proposal on a different blockchain, with that
         blockchain’s native token; however the vote registers a transaction through the Terra
         Blockchain. The Debtor’s ultimate goal is to expand the capabilities of Enterprise Protocol
         and other related applications, such as Enterprise Treasury and Enterprise Payments, to
         allow users to create DAOs or protocols that can, among other things, run payrolls,
         implement payment streams, and implement vesting contracts for cryptocurrencies, all on
         a cross-chain basis. The Debtor also intends to launch Enterprise Labor Market, a tool
         within Enterprise Protocol, which will allow a DAO, treasury, or individual to create job
         listings and will allow those entities to accept and complete work tasks. Enterprise Labor

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         Market will also include a decentralized “reputation” component (i.e. a rating system),
         which users completing work tasks for another party to transport their “reputation” to other
         platforms outside the Terra Blockchain.

        Warp. Warp is an automation tool designed for Web 3.0 protocols, which will allow
         economic activity automated by “bots” from centralized services to be brought on to the
         Terra Blockchain and then decentralized.

              d. Venture Investments

                    48.   In an effort to diversify its portfolio and generate favorable returns through

venture capital investments, the Debtor has invested in several technology-related ventures in

early-stage and growth-stage companies. Specifically, the Debtor is a limited partner or LLC

member in twelve (12) such ventures, seven (7) of which are Delaware limited partnerships or

Delaware LLCs (together, the “Venture Investments”). These Venture Investments invest in

companies involved in various sectors, including consumer technology, gaming, financial

technology, enterprise software, blockchain, digital/virtual assets/currencies, and healthcare

information technology.

                    49.   In the last few years, the Debtor invested an aggregate of approximately $54

million total in the Venture Investments. Pursuant to the applicable agreements, the Debtor is

further committed to contribute a total of approximately $35 million to certain of the Venture

Investments (subject to Bankruptcy Court approval). The Debtor will be entitled to distributions

on account of the profitability and success of the Venture Investments’ portfolio companies, which

have the potential to be highly valuable given the early-stage nature of the investments.

         3.         Corporate Structure

                    50.   The Debtor is a Singapore exempt private limited company. Mr. Kwon

owns approximately 92% of the Debtor’s equity and minority shareholder Daniel Hyunsung Shin




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owns the remaining 8%.20 The Debtor never sold equity interests in the Debtor to anyone. The

following chart depicts the Debtor’s corporate structure:




                    51.   Terraform Labs Korea. The Debtor understands that Terraform Labs

Korea is a South Korean entity and wholly-owned subsidiary of the Debtor. Terraform Labs Korea

underwent dissolution through a shareholder resolution on April 30, 2022, with Do Kwon

designated as the liquidator; however, the liquidation process and closure have not been completed.

                    52.   Terraform Labs Limited. Terraform Labs Limited (“TLL”) is a British

Virgin Islands company limited by shares and a wholly-owned subsidiary of the Debtor. It was

incorporated on June 25, 2018 and was dissolved on July 18, 2023. TLL was established in

connection with the distribution of Luna Classic. The Debtor has been diligently reviewing its

books and records with the assistance of the Advisors to confirm the ownership of certain of the


20
     In March 2023, Kwon was arrested in Montenegro and charged with forging official documents. Mr. Kwon
     stepped down as Chief Executive Officer of TFL on March 31, 2023 and resigned his position as director of TFL
     shortly thereafter, appointing a new locally resident director, Ashwin Mathialagan, on May 27, 2023. On June
     19, 2023, a court in Montenegro sentenced Kwon to four months in prison for using forged passports. Mr. Kwon
     is still held in custody in Montenegro. There is currently a dispute between the United States and Korea with
     regard to his potential extradition. The Debtor’s only communication with Kwon is through his legal counsel.


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Debtor’s cryptocurrency wallets as between TFL and TLL and the intercompany claims between

the entities, and is considering its options in respect to TLL, including whether to reinstate it in

accordance with BVI law. As noted, the Debtor was the 100% shareholder of TLL, and the Debtor

is not aware of any creditors of TLL. This issue is also being considered by the special committee

of the Board as part of its internal investigation (as described below).

                    53.   Moon Landing Ventures I Ltd. Moon Landing Ventures I Ltd. is a British

Virgin Islands entity and wholly-owned subsidiary of the Debtor. It was dissolved in May 2023.

                    54.   Proximity Panorama, LDA Transaction. In November 2023, the Debtor

acquired the stock of Proximity Panorama, LDA (“Proximity”), a Portuguese private limited

liability company, pursuant to a sale and purchase of share agreement. Proximity owned valuable

intellectual property—cross-chain portfolio management and analytics software called Pulsar

Finance (“Pulsar”), which it transferred to the Debtor pursuant to the transaction. Proximity is

now a wholly-owned subsidiary of the Debtor, providing the Debtor with access to Pulsar for

purposes of application development.

                    55.   The Debtor believes the acquisition of Proximity presents a fortuitous and

exciting opportunity to integrate the cutting-edge, one-of-a-kind Pulsar software into applications

on the Terra Blockchain. The Debtor has paired its Foundation application with Pulsar analytics

software to create a user interface product that is unavailable on any of the Debtor’s competitors’

blockchain platforms. The Debtor believes the integration of Pulsar into the Terra Blockchain will

give the Debtor a significant competitive advantage that will attract and retain users, thereby

fueling increased transaction fees on the Terra Blockchain.

                    56.   Luna Foundation Guard.          LFG is a non-profit Singapore entity

established in December 2021. In January 2022, TFL and LFG entered into a master services



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agreement, whereby TFL provided management and administrative services to LFG in exchange

for a fee of $10,000. As noted above, TFL funded LFG with a grant of millions of Luna Classic,

which was used to amass a reserve of over $3 billion in BTC, stablecoins, and other digital assets.

When the May 2022 de-peg occurred, LFG transferred almost $3 billion to Jump trading (a crypto

trading firm) and to TFL to defend the peg. Since the May 2022 de-peg, the LFG wallets have not

been active.

                    57.   Although Mr. Kwon established LFG, and serves as a director, LFG does

not sit within the Debtor’s corporate structure. Moreover, LFG has no more control over the

Debtor or the Terra Blockchain than an ordinary user would. I am in the process of being appointed

to the LFG board of directors.

                    58.   Terra Community Trust (“TCT”). I understand that the TCT was formed

as a Guernsey trust on January 18, 2022 and appointed Remi Tetot (RealVision co-founder) and

Ryan Moore (Draft Kings board member) as trustees, and Gabriel Shapiro (Delphi Labs general

counsel) as enforcer. According to the Purpose Trust Instrument that governs the TCT, the trustees

are authorized to, pursuant to community-approved proposals, but subject to the trustees’ absolute

discretion, use the TCT’s funds in furtherance of the TCT’s stated purpose—to carry out

community-approved proposals and to enter into agreements relating to certain intellectual

property held by the TCT. The Debtor has no control over the TCT.

                    59.   TFL assigned the branding and the marks for Luna Classic, UST, and Terra

(as existed at the time of the transfer) (the “Terra IP”) to TCT. On February 3, 2022 the Terra

community voted to transfer $40 million worth of UST from the Community Pool to the TCT,

with such transfer taking place a few days thereafter. Pursuant to the community-approved

proposal and the TCT’s Purpose of Instrument, the TCT transferred $38.15 million worth of UST



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(worth approximately $38.15 million USD at the time) to the Washington Nationals baseball team

to pay for a sponsorship deal to promote Terra in its stadium and $1.83 million worth of UST was

held by the TCT to cover the TCT’s operating expenses.

                    60.    The TCT has not been active since the May 2022 de-peg.

         4.         Corporate Governance and Management

                    61.    The Debtor’s Board consists of three (3) directors: Chris Amani, Ashwin

Mathialagan, and John S. Dubel. The Debtor’s highly experienced management team consists of

the following individuals:

         Name                                       Position and Location

 Chris Amani              Head of Company Operations a.k.a. Chief Executive Officer (United
                          States)
 Cayden Bernstein         Vice President, People (United States)
 Mike Brown               Chief Technology Officer (Japan)
 Mark Chan                Head of Ecosystem (Singapore)
 Peter Hsieh              General Counsel (United States)
 Edmund Lim               Finance Manager (Singapore)
 Javier Su                Core Engineer (Singapore)


         5.         Prepetition Assets and Liabilities

              a. Assets

                    62.    As noted above, the Debtor is continuing to review its books and records

with its Advisors and may identify adjustments to its assets and liabilities, including with respect

to intercompany claims (e.g., the books and records currently reflect significant intercompany

payables from the Debtor to TLL).

                    63.    The Debtor’s treasury currently reflects approximately $28 million of BTC,

$7 million of various other cryptocurrencies, and approximately 155 million in Luna (currently


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estimated to have a value of approximately $87 million), 125 million of which vest linearly over

five years, as of January 2024. In addition, the Debtor has interests in fee advances it paid to law

firms, the unapplied amounts of which exceed $70 million as of the Petition Date. The majority

of this amount is with the Debtor’s litigation counsel, Dentons US LLP (“Dentons”). Since the

Debtor’s loss of access to bank accounts to hold fiat currency, the Debtor has used the amount at

Dentons to pay legal fees and expenses.

                    64.   The Debtor’s other significant assets include: (i) the Venture Investments

(discussed above), (ii) approximately $57 million of fiat currency held in a Singapore escrow

account, pending the outcome of the Singapore Action (described below); and (iii) amounts that

are held in various locked accounts as discussed in the Motion of Debtor for Entry of Interim and

Final Order (I) Authorizing Debtor to Use Treasury Management System, (II) Authorizing

Continuation of Intracompany and Intercompany Transactions, (III) Extending Time to Comply

with Requirements of 11 U.S.C. § 345(b), and (IV) Granting Related Relief (the “Treasury

Management Motion”).

                    65.   As described above, the Debtor does not own the Terra IP transferred to

TCT. Rather, the Debtor granted the Terra IP, including trademarks, to the TCT, which holds such

intellectual property and has authority to enter into agreements relating to the Terra IP with third

parties for the benefit of the Terra community. The Debtor owns any intellectual property created

or acquired after the TCT transfer. Although the Terra IP is not an estate asset, the Terra brand

has the potential to have significant value if the Debtor is able to execute on its business plans.

                    66.   The Debtor owns the intellectual property rights to Pulsar. Foundation and

the underlying Pulsar software are not open source. Accordingly, Pulsar and Foundation are




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valuable intellectual property estate assets. However, most of the Debtor’s other software is open

source, which is fairly standard in the blockchain sector.

              b. Liabilities

                    67.   The Debtor currently has no secured or unsecured funded debt. The

Debtor’s liabilities consist primarily of significant unsecured contingent litigation liabilities,

including the SEC Enforcement Action, and related indemnification obligations under its

constitution (similar to a charter). The Debtor’s constitution provides that the Debtor owes

indemnification obligations to current and former directors, officers, and employees, including for

legal fees and fees for the defense of former members of management.

                    68.   In addition to the SEC Enforcement Action (described below in more

detail), the Debtor is also a defendant in other litigation including an action in Singapore in which

377 individuals claiming to be purchasers of UST filed a representative action against TFL, LFG,

Do Kwon, and former TFL employee, Nikolaos Platias, who was an author of whitepapers on the

Terra Classic Blockchain and Anchor Protocol (the “Singapore Action”). The claimants alleged

they were misled into purchasing UST and staking it on Anchor Protocol based on certain alleged

representations on the TFL website, suffering claimed damages of approximately $57 million.

TFL’s challenge on jurisdictional grounds (similar to a motion to compel arbitration) was rejected

for procedural reasons peculiar to Singapore rules of court; however, the court held that it was

likely that the terms of service associated with the Debtor’s web site and more specifically the

Anchor Protocol would apply to the claims made; among other things, those terms of service

contain broad releases and risk acknowledgements. The Debtor has $57 million of fiat currency

held in a Singapore escrow account, pending the outcome of the Singapore Action. The Debtor

believes this amount in excess of its judgment exposure, among other reasons because the

claimants’ Mareva injunction was not properly presented to the Singapore court, the claimants

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failed to comply with certain Singapore rules regarding representative actions (which are in any

event barred by the applicable terms of service), and because a majority of claimants have

significant defects in their claims (for example, one of the named claimants made all of his UST

purchases after the de-peg started and thus could not have relied on the alleged misstatements, and

another claimant continued purchasing Terra Tokens even after this lawsuit was filed). The Debtor

is considering the impact of this chapter 11 case on the Singapore Action, including whether to

seek recognition of this chapter 11 case in Singapore.

                    69.   The Debtor also owes approximately $35 million in outstanding capital

contributions obligations on account of certain of its Venture Investments.

             III.     SIGNIFICANT EVENTS LEADING TO CHAPTER 11 FILING

                    70.   Although the Debtor’s operating performance has been steady and Luna has

value, the Debtor would not likely be able to satisfy a judgment in the SEC Enforcement Action

of the amount the SEC is likely to seek. These events leading to the chapter 11 filing are discussed

in further detail below.

    A. The Collapse of Luna Classic and UST

                    71.   As described above, the Debtor’s troubles began with the collapse of Luna

Classic and UST. In light of the actions the Debtor took to shift its focus to software development,

the Debtor was able to recover its business and focus on improving the Terra Blockchain for the

benefit of the Terra community. However, the Debtor soon faced legal action that led it to

commence this chapter 11 case.




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     B. The SEC Enforcement Action

                    72.     On February 16, 2023, the SEC filed a complaint in the District Court

against the Debtor and Mr. Kwon.21 In the SEC Enforcement Action, the SEC alleged six claims,

including violations of the Securities Act and the Exchange Act based on the alleged unregistered

offer and sale of securities and securities-based swaps, and violations of the Securities Act and

Exchange Act based on alleged securities fraud.22 In connection with its claims, the SEC seeks a

permanent injunction, disgorgement, and civil money penalties.23

                    73.     The Debtor believes that the SEC Enforcement Action should be dismissed

because the SEC does not have jurisdiction over the Debtors. Specifically, I understand that the

SEC has jurisdiction to regulate “securities,” but that the statutory definition of “security” does not

mention cryptocurrencies (or currencies more broadly). See 15 U.S.C. 77b(a)(1), 78c(a)(10).

Congress has considered various proposals to give the SEC or the Commodities Futures Trading

Commission jurisdiction over cryptocurrencies, but Congress has not enacted any such proposal.

See, e.g., Lummis-Gillibrand Responsible Financial Innovation Act (RFIA), S. 4356, 117th Cong.

(2022). The SEC’s position is that it is unnecessary for Congress to give it jurisdiction over

cryptocurrencies expressly because the original Acts—adopted in the 1930s, before the invention

of computers—already give it such jurisdiction.                    The Acts define “security” to include an

“investment contract,” 15 U.S.C. 77b(a)(1), 78c(a)(10), and the SEC takes the position that the


21
     On April 3, 2023, the SEC filed an Amended Complaint, which is identical to the Complaint in all material
     respects. Amended Complaint, SEC v. Terraform Labs Pte. Ltd., et al., Civil Action No. 1:23-cv-013460-JSR
     (S.D.N.Y. Apr. 3, 2023) (Docket No. 25) (the “Amended Complaint”).
22
     Amended Complaint at ¶¶ 173-190.
23
     Amended Complaint, Prayer for Relief at pp. 53-54. The SEC requested the imposition of a conduct-based
     injunction prohibiting the Debtor from “(i) participating, directly or indirectly, in the purchase, offer, or sale of
     any crypto asset security, or (ii) engaging in activities for purposes of inducing or attempting to induce the
     purchase, offer, or sale of any crypto asset security by others.” Id. at p. 54. However, the Debtor does not believe
     this conduct-based injunction will have a significant impact on the Debtor’s existing operations related to software
     development.


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cryptocurrency tokens at issue are “investment contracts,” even though they are not themselves

contracts and do not include any promise of future performance. The SEC has described its

unilateral $1 trillion increase in the scope of its jurisdiction resulting from including

cryptocurrency as a “rounding error.” SEC v. Coinbase, Inc., et al., 23-Civ-1346 (JSR), Jan. 17,

2024 Hearing Tr. 71:1–7.

                    74.     The Debtor disagrees with the SEC’s position. On April 21, 2023, the

Debtor and Mr. Kwon moved to dismiss the SEC’s complaint in its entirety, principally arguing

that the SEC lacks jurisdiction because the offerings of UST, Luna Classic, WLUNA24, and MIR

were not “securities.”25 On July 31, 2023, the District Court denied the motion to dismiss.26 The

case proceeded on an expedited timeline.27

                    75.     On December 28, 2023, the District Court partially granted the SEC’s

motion for summary judgment.28 Specifically, the District Court found that the Debtor and Mr.

Kwon “offered and sold unregistered securities, in violation of Sections 5(a) and 5(c) of the

Securities Act” when they “offered and sold LUNA and MIR in unregistered transactions” and

when the Debtor offered UST together with the Anchor protocol.29 In reaching that finding, the

District Court relied on SEC v. W.J. Howey Co., 328 U.S. 293 (1946), and held that there was “no



24
     WLUNA tokens, or “Wrapped Luna,” was a Terra Classic Blockchain-native token whose value was pegged to
     the value of Ethereum on the Ethereum blockchain. Generally speaking, “wrapped” tokens make it possible to
     use cryptocurrencies from one blockchain on a different blockchain.
25
     Memorandum of Law in Support of Defendants’ Motion to Dismiss the Amended Complaint, SEC v. Terraform
     Labs Pte. Ltd., et al., Civil Action No. 1:23-cv-013460-JSR (S.D.N.Y. Apr. 21, 2023) (Docket No. 29), at 7 et
     seq.
26
     Opinion and Order, SEC v. Terraform Labs Pte. Ltd., et al., Civil Action No. 1:23-cv-013460-JSR (S.D.N.Y. July
     31, 2023) (Docket No. 51)
27
     Opinion and Order, SEC v. Terraform Labs Pte. Ltd., et al., Civil Action No. 1:23-cv-013460-JSR (S.D.N.Y.
     December 28, 2023) (Docket No. 149) (the “MSJ Order”), at p. 71.
28
     MSJ Order at p. 2-3.
29
     MSJ Order at p. 43-44.


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genuine dispute that UST, LUNA, WLUNA, and MIR are securities because they are investment

contracts.”30 The District Court granted summary judgment to the Debtor and Mr. Kwon on the

SEC’s claims relating to the Mirror Protocol, finding that mAssets are not securities-based swaps.

                    76.    The District Court denied the parties’ cross motions for summary judgment

with respect to the securities fraud claims, finding that “genuine disputes of material fact linger,”

particularly with regard to the element of scienter required under both securities fraud claims.31 I

understand that as with the alleged registration violations, the District Court’s finding that the

assets at issue are “securities” is a threshold requirement for liability on securities fraud. I

understand that, to the extent an appellate court holds that this case does not involve “securities,”

then the entire case would be dismissed, including the securities fraud claims.

                    77.    A jury trial on the remaining securities fraud claims was scheduled to begin

on January 29, 2024.32 On January 16, 2024, the District Court issued an order postponing the

start to March 25, 2024, but stated that “[n]o further requests from any party for any further

adjournment will be entertained.”33

                    78.    The District Court has not yet addressed remedies or entered a money

judgment of any kind. The Debtor could face civil penalties and disgorgement, as well as

injunctive relief, for the regulatory offenses and potentially also for the securities fraud counts.34




30
     MSJ Order at p. 36 et seq.
31
     MSJ Order at p. 50. The SDNY District Court also partially granted the Debtor and Mr. Kwon’s motion for
     summary judgment, finding that the Debtor and Kwon “did not offer or effect transactions in security-based
     swaps” by creating and maintaining the Mirror Protocol through which others could mint mAssets. MSJ Order
     at p. 47.
32
     MSJ Order at p. 71.
33
     Order, SEC v. Terraform Labs Pte. Ltd., et al., Civil Action No. 1:23-cv-013460-JSR (S.D.N.Y. January 16, 2024)
     (Docket No. 166), at p2.
34
     Amended Complaint at p. 53-54.


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The exact size of a money judgment remains unknown, but it could very well outstrip the Debtor’s

assets.

                    79.   The SEC also seeks the imposition of a conduct injunction that would

prevent the Debtor from (i) participating, directly or indirectly, in the purchase, offer, or sale of

any crypto asset security, or (ii) engaging in activities for purposes of inducing or attempting to

induce the purchase, offer or sale of any crypto asset security by others. The Debtor does not

believe that such an injunction, if imposed, would significantly impact the Debtor’s existing

operations related to software development.35 As previously described, the Debtor’s primary

business activity is maintaining the Terra Blockchain and developing tools and applications for

use on the Terra Blockchain, as well as treasury management activities described in the Treasury

Management Motion.

                    80.   Pursuing a chapter 11 restructuring at this time is critical to ensuring the

Debtor can operate as a going concern while pursuing an appeal of the SEC Enforcement Action,

thereby preserving value for its creditors and stakeholders and providing an orderly process for

resolving competing claims against it. A successful appeal would eliminate the single largest claim

against the Debtor, benefiting the Debtor, its other creditors, and the Terra community more

broadly, including holders of Luna.

                    81.   To appeal an adverse judgment while continuing operations, the Debtor

needs a stay of enforcement, as the Debtor likely lacks sufficient assets to satisfy the impending

judgment in connection with the securities registration liability and any subsequent judgment in

connection with the remaining securities fraud claims. And, the Debtor would not be able to afford

the supersedeas bond of 110% of the total judgment necessary to stay the judgment pending an


35
     Amended Complaint at p. 54.


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appeal. In this case, the automatic stay provides the necessary flexibility to pursue the appeal

while precluding the SEC’s enforcement of the judgment.

                    82.   If the appeal is unsuccessful, then the chapter 11 case will permit the orderly

distribution of assets to all of the Debtor’s creditors, including the SEC.

     C. New Governance and Engagement of Advisors

                    83.   On March 31, 2023, Mr. Kwon stepped down as Chief Executive Officer of

TFL.

                    84.   Following the appointment of a new Singapore resident director, Ashwin

Mathialagan, on May 27, 2023, Mr. Kwon also resigned his position as Director of TFL. I was

appointed as a Director and Head of Company Operations, announced to the world as “interim

CEO.”36 Under my leadership, TFL has launched new products and tools on the Terra Blockchain,

such as Alliance, Warp, and Enterprise, in addition to acquiring Proximity and its advanced cross-

chain data analytics platform.

                    85.   In November 2023, the Debtor engaged Weil in connection with a potential

appeal and subsequently to explore strategic options to manage its mounting litigation liabilities.

The Debtor thereafter undertook a search to retain an independent director, a financial advisor, a

law firm to provide advice on Singapore governance issues, and other advisors. In mid-January

2024, the Debtor engaged A&M to serve as its financial advisor. In mid-January, the Debtor

engaged Wong to serve as special foreign counsel.

                    86.   On January 9, 2024, Messrs. Amani and Mathialagan, then the sole Board

members, interviewed John Dubel as a potential candidate to join the Board as an independent

director. Mr. Dubel has served on the board of, or been part of the management of, numerous


36
     https://prn.to/3UkS0fM.


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companies in high-profile, contentious restructuring situations. These include: Special Committee

Chairman of Purdue Pharma Inc.,37 Chief Financial Officer of WorldCom, Inc. (after the discovery

of massive fraud), Chief Executive Officer and Chief Restructuring Officer of SunEdison, Inc.,

and an independent board member for Highland Capital Management, LP and WMC Mortgage,

LLC, among numerous others. Based on Mr. Dubel’s extensive experience as an independent

director of distressed companies, including those accused of wrongdoing, and leading related

investigations, Messrs. Amani and Mathialagan unanimously appointed Mr. Dubel as an

independent director of the Board on January 19, 2024.

                    87.    Further, on January 21, 2024, the Board approved the formation of a special

committee consisting of John Dubel (the “Special Committee”). The Special Committee is

authorized to, among other things, (A) conduct and oversee an investigation of (i) the Debtor’s and

its subsidiaries’ assets and liabilities, including issues relating to subsidiary TLL and (ii) claims

and/or causes of action in favor of the Debtor against current and former members of the Board,

current and former members of the applicable governing bodies of the Debtor’s subsidiaries, and

any equityholders of the Debtor; (B) consult with the Advisors to the Debtor to evaluate the legal

basis of any such claims and/or causes of action; and (C) act on behalf of, and bind the Debtor and

its subsidiaries with respect to any disposition of any such claims and/or causes of action, to

prosecute, compromise, settle, exculpate, release, or otherwise dispose of any such claims and/or

causes of action, subject to any required approval of the Bankruptcy Court.




37
     The examiner in Purdue Pharma’s chapter 11 case, whose scope was to determine whether the Dubel-led Special
     Committee acted independently and not under the direction or influence of interested parties with respect to the
     settlement reflected in the debtors’ chapter 11 plan, concluded that there was no evidence that the Special
     Committee acted other than independently in its consideration and recommendation of the settlement and chapter
     11 plan. See Report of Stephen D. Lerner, Examiner, In re Purdue Pharma, L.P., Case No. 19-23649 (RDD)
     (Bankr. S.D.N.Y. July 19, 2021) (Docket No. 3285).


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    D. Self-Funded Chapter 11

                    88.   Given risks arising from the SEC Action, and after consultation with the

Advisors, the Board approved resolutions authorizing the Debtor to file chapter 11. As of the

Petition Date, the Debtor has a combination of cash (albeit frozen or deposited in a court account),

cryptocurrency assets, and interests in amounts held by its law firms. With its existing liquidity,

the Debtor should have sufficient funds to self-fund this chapter 11 case, and, in parallel, the “do-

or-die” appeal of the judgment in the SEC Enforcement Action.

                    89.   As described, the Debtor is in the process of developing and launching over

a dozen applications on the Terra Blockchain, many of which will have cross-chain capabilities

and some of which could potentially generate revenue for the Debtor. The Bankruptcy Code’s

chapter 11 tools will allow the Debtor to continue this transformative undertaking to broaden and

enrich the Terra Blockchain. Therefore, it is my belief that the proposed self-funded chapter 11 is

in the best interests of the Debtor and its stakeholders.




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                    I hereby declare under penalty of perjury that the foregoing is true and correct to

the best of my knowledge, information, and belief.

Dated:     January 30, 2024
           New York, New York

                                          Respectfully submitted,

                                          By:       /s/ Chris Amani
                                                    Chris Amani
                                                    Head of Company Operations


                                          on behalf of Terraform Labs Pte. Ltd.




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